
USCA1 Opinion

	










                                [NOT FOR PUBLICATION]

                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT

                                 ____________________



        No. 96-1437
         

                                    UNITED STATES,

                                      Appellee,

                                          v.

                             ALLAN ROBERTO GUEVARA-LOPEZ,

                                Defendant, Appellant.


                                 ____________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF MAINE

                     [Hon. D. Brock Hornby, U.S. District Judge]
                                            ___________________

                                 ____________________

                                        Before

                                Selya, Cyr and Boudin,
                                   Circuit Judges.
                                   ______________

                                 ____________________

            George M. Hepner, III on brief for appellant.
            _____________________
            Jay P.  McCloskey, United  States  Attorney,  Frederick C.  Emery,
            _________________                             ____________________
        Jr., and Margaret D. McGaughey, Assistant United  States Attorneys, on
        ___      _____________________
        brief for appellee. 


                                 ____________________

                                    August 6, 1996

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                      Per  Curiam.   Allan Roberto  Guevara-Lopez appeals
                      ___________

            from  his sentence for  illegal reentry after  deportation in

            violation of  8  U.S.C.    1326  (a) and  (b)(2).   His  sole

            argument  on appeal is that the district court misinterpreted

            Section 2L1.2 of  the United States Sentencing  Guidelines in

            imposing a  16-level enhancement  to his  base offense  level

            because he had  been "previously deported after  a conviction

            for an aggravated felony." U.S.S.G.   2L1.2(b)(2).

                 The issue presented  by this case is the  meaning of the

            term "deported"  for purposes  of   2L1.2(b)(2).   We  review

            that question of  law de novo. See United  States v. DiSanto,
                                  __ ____  ___ ______________    _______

            86  F.3d  1238,  1244  (1st  Cir.  1996).    "[A]lthough [the

            sentencing guidelines]  are not  statutes, [they]  are to  be

            construed in much the same fashion." United States v. DeLuca,
                                                 _____________    ______

            17 F.3d  6, 10 (1st  Cir. 1994).  Therefore,  construction of

            the relevant guideline  section should begin "'by  looking at

            the language  of the  law' and  by  examining the  'ordinary,

            contemporary, common meaning' of the words." United States v.
                                                         _____________

            Holmquist,  36 F.3d  154,  159  (1st  Cir.  1994)  (citations
            _________

            omitted), cert. denied, __ U.S. __, 115 S. Ct. 1797 (1995).
                      ____________

                 There is nothing inconsistent or ambiguous about the use

            of the  term "deported"  in   2L1.2  itself.   That guideline

            section,   however,   "implements  the   statutory   sentence

            enhancement  provisions of 8 U.S.C.   1326(b)." United States
                                                            _____________

            v.  Restrepo-Aguilar, 74 F.3d  361, 363 n.2  (1st Cir. 1996).
                ________________



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            We will accept for the purposes of this appeal the conclusion

            that  the use  of the  term "deported"  in    1326  and other

            sections  of  that  statute  is  "not entirely  unambiguous."

            United  States v.  Cooke, 850  F. Supp. 302,  303   (E.D. Pa.
            ______________     _____

            1994), aff'd, 47 F.3d 1162 (3d Cir. 1995). 
                   _____

                 We  agree with the  sentencing court, however,  that the

            purposes  and underlying  policy  of  U.S.S.G.    2L1.2(b)(2)

            remove any ambiguity that might otherwise exist regarding the

            meaning  of  "deported" in  that context.   We  interpret the

            word's meaning in light of the purposes of   2L1.2(B)(2). See
                                                                      ___

            United States v.  Caron, 77 F.3d 1, 3  (1st Cir. 1996)("'[a]s
            _____________     _____

            in  all cases  of  statutory  construction,  our task  is  to

            interpret the words of [the statute] in light of the purposes

            Congress  sought to serve'"); see also  Holmquist, 36 F.3d at
                                          ___ ____  _________

            160 ("a statute must be read as  a whole, with due regard for

            its object, purposes and underlying policy").   

                 Underlying  the  relevant  guideline  section  are   the

            following policy determinations by the Sentencing Commission:

                 that  the offense of unlawful reentry subsequent to
                 perpetrating an  aggravated felony  is sufficiently
                 more  serious  than  the  commission  of  the  same
                 offense  while  toting  less weighty  baggage  and,
                 thus, warrants  greater punishment,  [and] that  an
                 alien  who,   having  been  deported   following  a
                 conviction  for an  aggravated  felony, and  having
                 exhibited  a willingness to flout our laws again by
                 reentering the  country without permission,  may be
                 more  likely to commit serious crimes than an alien
                 who  unlawfully  reenters  this   country  with  no
                 criminal record or with a less sullied record, and,
                 thus,  deserves  a  sentence    possessing  greater
                 deterrent impact.


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            United States v. Zapata, 1 F.3d 46, 49 (1st Cir. 1993).  
            _____________    ______

                 The interpretation of  "deported" urged by appellant  is

            plainly inconsistent with the purposes and  underlying policy

            of   2L1.2.  It is the fact that a defendant has committed an

            aggravated felony  in this country  that makes  his crime  of

            reentry  more serious  and deserving  of  greater punishment.

            That  the aggravated felony  was committed after  an order of

            deportation  was issued (but  before the order  was executed)

            does  not at  all  reduce  the seriousness  of  the crime  of

            reentry or the  need for a greater deterrent  to reentry. See
                                                                      ___

            Cooke, 850 F. Supp. at 306.
            _____

                 If    2L1.2  were  aimed  at  producing  sentences  that

            differed based  upon the  reason for  the deportation  order,
                                      ______

            then   appellant's  argument  might  have  some  merit.    An

            aggravated felony conviction that follows a deportation order

            cannot have been  the reason for the order.    The commentary

            to   2L1.2, however, specifically provides  that "'[d]eported

            after  a  conviction'  .  .  .   means  the  deportation  was

            subsequent  to the conviction, whether or not the deportation

            was in response to such conviction."   2L1.2, comment. (n.6).

            Therefore, the  Sentencing Commission clearly did  not intend

            to  increase  the  punishment only  for  defendants  who were

            deported because of an aggravated felony conviction.
                     _______ __

                 Appellant  argues  that  the  meaning  of  the  relevant

            guideline provision  is sufficiently ambiguous  that the rule



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            of  lenity  requires  resolution  in  his  favor.    We  have

            explained the rule of lenity as follows:

                      When  all  else  fails   to  bring  sufficient
                 lucidity to the  meaning of the penal  statute, the
                 rule of lenity casts the decisive vote.  That rule,
                 which mandates  the resolution of ambiguities  in a
                 criminal  statute favorably  to the defendant  is a
                 'background principle that comes into play when, at
                 the end  of a  thorough inquiry,  the meaning of  a
                 criminal statute remains obscure.'

            United  States v.  Gibbens, 25  F.3d 28,  35 (1st  Cir. 1994)
            ______________     _______

            (citations  omitted).   In  this  case,  the meaning  of  the

            relevant guidelines  provision does  not "remain[]  obscure."

            The  purposes and underlying policies of   2L1.2(b)(2) remove

            any possible  ambiguity created  by the  alleged inconsistent

            use   of  the  term  "deportation"  in  the  Immigration  and

            Nationality Act.  Therefore, the rule of lenity does not come

            into play.     

                 Appellant's  sentence is summarily affirmed. See Loc. R.
                                          _________ ________  ___

            27.1.




















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